 8:12-cr-00047-JFB-MDN              Doc # 30    Filed: 03/20/12      Page 1 of 1 - Page ID # 42




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                              )
                                                       )               8:12CR47
                       Plaintiff,                      )
                                                       )
       vs.                                             )                ORDER
                                                       )
FELIPE MONTES-CARDONA,                                 )
                                                       )
                       Defendant.                      )


       This matter is before the court on the motion for an extension of time by defendant Felipe
Montes-Cardona (Montes-Cardona) (Filing No. 29). Montes-Cardona seeks until April 20, 2012,
in which to file pretrial motions in accordance with the progression order. Montes-Cardona's
counsel represents Montes-Cardona will file an affidavit wherein he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes of the
Speedy Trial Act. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Montes-Cardona's motion for an extension of time (Filing No. 29) is granted.
Montes-Cardona is given until on or before April 20, 2012, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between March 20, 2012, and April
20, 2012, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 20th day of March, 2012.
                                                       BY THE COURT:


                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
